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                       IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF OREGON

                                  PORTLAND DIVISION


      MARK FITZ, GRAYGUNS, INC.;                Case No. 22-cv-1859
      G4 ARCHERY, LLC; SECOND
      AMENDMENT FOUNDATION; and                 PLAINTIFFS’ EMERGENCY
      FIREARMS POLICY COALITION,                MOTIONS FOR A TEMPORARY
      INC.,                                     RESTRAINING ORDER AND
                                                PRELIMINARY INJUNCTION AND
                             Plaintiffs,        SUPPORTING MEMORANDUM

                             v.                 Request for Oral Argument

      ELLEN ROSENBLUM, in her official          Telephonic/Videoconferencing
      capacity as Attorney General of the       Argument Requested
      State of Oregon; TERRI DAVIE, in
      her official capacity as Superintendent
      of the Oregon State Police,

                             Defendants.


                                            Motions

          Pursuant to Federal Rule of Civil Procedure 65 and Local Rules 7-4 and 65,

Plaintiffs Mark Fitz, Grayguns, Inc., G4 Archery, LLC, Second Amendment Foundation,

and Firearms Policy Coalition, Inc. respectfully request that this court enter a temporary

restraining order and preliminary injunction restraining Defendants and their officers,


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agents, servants, employees, and all persons in concert or participation with them who

receive notice of the temporary restraining order from enforcing the provisions of Oregon

Ballot Measure 114 which restrict the possession, use, manufacture, sale, or transfer of

ammunition magazines capable of holding more than 10 rounds of ammunition

(“standard capacity magazines”). This motion is supported by the memorandum of law

below and the supporting declarations of Mark Fitz, Jessica Harris, Bruce Gray, and

Brandon Combs.

                           Introduction to Supporting Memorandum

          In New York State Rifle & Pistol Association, Inc. v. Bruen, 142 S. Ct. 2111

(2022), the Supreme Court explained that the Second Amendment “elevates above all

other interests the right of law-abiding citizens to use arms for self-defense” and that it is

not legislation, but “the traditions of the American people—that demands our unqualified

deference.” Id. at 2131 (quotation omitted). In this case, Oregon voters have approved by

a slim margin a ballot measure that is irreconcilable with the traditions of the American

people. Measure 114, which bans the use, sale, production, and transfer of ammunition

magazines capable of holding more than 10 rounds of ammunition, is unconstitutional

under the Second Amendment.

          The Supreme Court has now repeatedly said that the Second Amendment

“protects the possession and use of weapons that are in common use at the time.” Bruen,

142 S. Ct. at 2128 (quotation omitted). The banned magazines certainly qualify for

protection under this standard. They are common features of many of the most commonly

owned handguns and rifles in the country and estimates suggest there are as many as over

half a billion of them in circulation in the United States today. As such, there is no

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possible justification for Oregon’s unconstitutional ban. And because the law Plaintiffs

challenge is unconstitutional, they are entitled to a temporary restraining order and

preliminary injunction to stop it from going into effect. Not only are they likely to

succeed on the merits, but the threatened constitutional violation of removing Plaintiffs’

freedom to use their existing magazines for self-defense, to acquire new magazines, and

to supply their customers with additional magazines, would be irreparable if it were to

occur, and public interest always favors the injunction of unconstitutional laws.

                                       Background

          On November 8, 2022, Oregon voters approved Ballot Measure 114 which,

among other things, criminalizes the “manufacture, importation, use, purchase, sale,

or . . . transfer[] of large-capacity magazines.” Measure 114, § 11(2) (attached to the

Complaint as Exhibit A). “Large-capacity magazines,” with a few limited exceptions,

include any magazine ‘that has an overall capacity of, or that can be readily restored,

changed, or converted to accept, more than 10 rounds of ammunition and allows a

shooter to keep firing without having to pause to reload. Id. § 11(1)(d). Given how

common magazines holding more than 10 rounds of ammunition are, Oregon’s “large

capacity” label is a misnomer. They in fact are “standard capacity” magazines.

          This magazine ban goes into effect on December 8, 2022. Oregon State Police

Firearms Instant Check System (FICS) Update – Oregon, https://bit.ly/3TZYw7Y (Nov.

16, 2022). At that point, licensed dealers will be required to permanently dispose of

existing noncompliant magazines in their inventories or permanently modify them to

accept 10-or-fewer rounds of ammunition. Ex. A, § 11(3)(a). Going forward, dealers and

manufacturers will only be allowed to sell non-compliant magazines to military or law-

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enforcement buyers and even then only if the magazines have been manufactured with a

permanent stamp indicating they were created after the effective date of Measure 114 and

was produced in compliance with it. Id. § 11(4)(a) & (b). And Oregon citizens who

already possess magazines holding more than 10 rounds of ammunition will be barred

from acquiring new magazines and required to use their old magazines only under limited

circumstances—circumstances that notably exclude carriage in public for self-defense.

Id. § 11(5)(c).

          Plaintiffs in this case are one individual, two licensed firearm dealers, and two

organizations who bring this action to prevent the irreparable harm that would result if

the magazine ban goes into effect. Plaintiff Mark Fitz is a law-abiding Oregon citizen and

member of Plaintiffs Second Amendment Foundation (“SAF”) and Firearms Policy

Coalition, Inc. (“FPC”) who currently possesses magazines with more than a 10 round

capacity. (Declaration of Mark Fitz (“Fitz Decl.”) ¶ 4.) If it were not for the magazine

ban going into effect on December 8, he would acquire additional noncompliant

magazines as necessary after that date and would continue to use his existing magazines

in lawful ways other than those specifically enumerated as acceptable in Measure 114.

(Id. ¶ 6.) However, because he fears prosecution by Defendants under the magazine ban,

and because the ban will destroy the legal market for such magazines in Oregon after

December 8, he will not be able to exercise his Second Amendment rights by purchasing

and using these commonly possessed magazines. (See id.)

          Plaintiffs Grayguns and G4 Archery are both federally licensed firearm dealers

and their principals are members of Plaintiffs SAF and FPC. (Declaration of Bruce Gray

(“Gray Decl.”) ¶¶ 2-3; Declaration of Jessica Harris (“Harris Decl.”) ¶¶ 2-3.) They will

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be forced to stop selling magazines capable of holding more than 10 rounds of

ammunition to customers in Oregon on December 8, 2022. (Gray Decl. ¶ 5; Harris Decl.

¶ 5.) Until now, both Grayguns and G4 Archery have done significant business selling

products that will be banned under Measure 114. (See Gray Decl. ¶ 7; Harris Decl. ¶ 7.)

The only reason they will cease this activity is because of fear of prosecution by

Defendants under Measure 114. (See Gray Decl. ¶ 8; Harris Decl. ¶ 8.)

          Plaintiff SAF is a nonprofit educational foundation that seeks to preserve the

effectiveness of the Second Amendment through education, research, publishing, and

legal action programs focused on the constitutionally protected right to possess firearms

and firearm ammunition, and the consequences of gun control. (Declaration of Alan

Gottlieb (“Gottlieb Decl.”) ¶ 4.) SAF has thousands of members in Oregon, including

Plaintiff Fitz and owners of Plaintiff G4 Archery, LLC and Grayguns, Inc., and brings

this action to vindicate the rights of its members. (Id. ¶¶ 5, 7.)

          Plaintiff FPC is a nonprofit organization that seeks to defend and promote the

People’s rights—especially the fundamental, individual Second Amendment right to keep

and bear arms—advance individual liberty, and restore freedom. (Declaration of Brandon

Combs (“Combs Decl.”) ¶ 4.) It has members in Oregon, including Plaintiff Fitz, and

brings this action to vindicate the rights of its members. (Id. ¶ 6.)

          The Defendants are Oregon officials with authority to enforce the magazine ban

against Plaintiffs. Defendant Ellen Rosenblum, as Oregon Attorney General, has the

authority to direct district attorneys in prosecuting violations of the magazine ban, ORS

180.060(5), and Defendant Terri Davie, as Superintendent of the Oregon State Police, has




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authority to enforce all criminal laws, including the magazine ban, throughout the state,

ORS 181A.080.

                                           Argument

          “The purpose of a preliminary injunction is to preserve the status quo pending a

determination of the action on the merits.” Chalk v. U.S. Dist. Ct., 840 F.2d 701, 704 (9th

Cir. 1998). To obtain a preliminary injunction, plaintiffs must establish: (1) likelihood of

success on the merits; (2) likelihood of irreparable harm in the absence of preliminary

relief; (3) that the balance of equities tips in their favor, and (4) that an injunction is in the

public interest. Winter v. Nat. Res. Def. Council, Inc., 555 U.S. 7, 20 (2008). When the

government is a party to an action, these last two factors merge. Drakes Bay Oyster Co. v.

Jewell, 747 F.3d 1073, 1092 (9th Cir. 2014). The standard governing the grant of a

temporary restraining order is the same. Brown v. United States Forest Service, 465 F.

Supp.3d 1119, 1123 (D. Or. 2020).

I.        PLAINTIFFS ARE LIKELY TO SUCCEED ON THE MERITS BECAUSE
          OREGON’S MAGAZINEBAN VIOLATES THE SECOND AMENDMENT.

          As an initial matter, this case presents an open question: Can states lawfully block

the use, possession, manufacture, and sale of magazines with a capacity of more than 10

rounds? The Ninth Circuit previously held, in Duncan v. Bonta, 19 F.4th 1087 (9th Cir.

2021) (en banc), that such a regulation is permissible under the Second Amendment, but

that decision was vacated by the Supreme Court, Duncan v. Bonta, 142 S. Ct. 2895

(2022), in light of its decision in Bruen. Duncan’s rationale lacks even persuasive

authority in this case, having been entirely undercut by Bruen.

          Therefore, in answering this question, this Court must analyze it as a matter of

first impression under Bruen. That means this Court must begin by reviewing the Second
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Amendment’s text; and “when the Second Amendment’s plain text covers an individual’s

conduct, the Constitution presumptively protects that conduct. To justify its regulation,

the government . . . must demonstrate that the regulation is consistent with this Nation’s

historical tradition of firearm regulation.” 142 S. Ct. at 2126. Here, the Second

Amendment’s text covers the banned magazines, so it falls to Defendants to justify their

regulation as consistent with historical tradition rooted in the Founding. They cannot

possibly do so, because Bruen has already established that there is no tradition of banning

commonly possessed arms.

A.        The Banned Magazines Are “Arms” Within the Meaning of the Second
          Amendment.

          The Second Amendment states: “A well regulated Militia, being necessary to the

security of a free State, the right of the people to keep and bear Arms, shall not be

infringed. U.S. Const. amend. II. “Arms” in the Second Amendment includes, “prima

facie, all instruments that constitute bearable arms, even those that were not in existence

at the time of the founding.” District of Columbia v. Heller, 554 U.S. 570, 582 (2008).

The standard capacity magazines banned by Measure 114 fall within the scope of this text

because constitutional rights “implicitly protect those closely related acts necessary to

their exercise.” Luis v. United States, 578 U.S. 5, 26 (2016) (Thomas, J. concurring in the

judgment). In this case, that means the right to own “Arms” must include the right to own

magazines that make those arms functional, since “without bullets, the right to bear arms

would be meaningless. A regulation eliminating a person’s ability to obtain or use

ammunition could thereby make it impossible to use firearms.” Jackson v. City & Cnty.

of San Francisco, 746 F.3d 953, 967 (9th Cir. 2014). Indeed, the Ninth Circuit recognized

before Bruen that its “caselaw supports the conclusion that there must be some corollary,
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albeit not unfettered, right to possess the magazines necessary to render those firearms

operable.” Fyock v. Sunnyvale, 779 F.3d 991, 998 (9th Cir. 2015); see also Duncan v.

Bonta, 19 F.4th at 1151 (Bumatay, J., dissenting). Because magazines are an integral part

of a firearm, a limitation on magazines operates as a limitation on the firearms

themselves. Thus, California’s law operates as a ban on arms capable of firing in excess

of 10 rounds without reloading.

B.        Oregon’s Ban on Standard Capacity Magazines Cannot Be Historically
          Justified

     1. Only “dangerous and unusual” arms can be banned consistent with our
        history and tradition.

          “[W]hen the Second Amendment’s plain text covers an individual’s conduct . . .

the government must demonstrate that the [challenged] regulation is consistent with this

Nation’s historical tradition of firearm regulation.” Bruen, 142 S. Ct. at 2126. While in

many cases this will involve analyzing a variety of historical statutes that the government

will suggest are analogous to the modern day regulation, both Bruen and Heller have

already established the relevant contours of the tradition at issue in this case: bearable

arms cannot be banned unless doing so would fit into the “historical tradition of

prohibiting the carrying of ‘dangerous and unusual weapons.’ ” Id. at 2128 (quoting

Heller, 554 U.S. at 627). And a law by definition does not fit into that tradition if it bans

“possession and use of weapons that are ‘in common use at the time.’ ” Id. at 2128

(quoting Heller, 554 U.S. at 627); see also Heller, 554 U.S. at 625 (“We therefore read

Miller to say only that the Second Amendment does not protect those weapons not

typically possessed by law-abiding citizens for lawful purposes, such as short-barreled

shotguns.”).

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          This test is based on historical practice and “the historical understanding of the

scope of the right,” but with reference to modern realities of firearm (or in this case,

magazine) ownership. Heller, 554 U.S. at 625; see also Bruen, 142 S. Ct. at 2131 (“The

test that we set forth in Heller and apply today requires courts to assess whether modern

firearms regulations are consistent with the Second Amendment’s text and historical

understanding.”); Rocky Mountain Gun Owners v. Town of Superior, Colo., 1:22-cv-

01685, Doc. 18 at 9 (July 22, 2022) (granting, post-Bruen, a temporary restraining order

against enforcement of a ban on certain semiautomatic rifles because “the Court is

unaware of historical precedent that would permit a governmental entity to entirely ban a

type of weapon that is commonly used by law-abiding citizens for lawful purposes”). In

the context of broad bans on “arms” like the standard capacity magazines targeted by

Oregon here, the Supreme Court has already doner the historical spadework—and the

only restrictions it has deemed consistent with historical practice are those limited to

restraints on dangerous and unusual arms that are not in common use.

          This Court’s task is therefore a simple one: it must merely determine whether the

banned magazines are “dangerous and unusual.” “[T]his is a conjunctive test: A weapon

may not be banned unless it is both dangerous and unusual.” Caetano, 577 U.S. at 417

(Alito, J., concurring). Thus, magazines that are in common use for lawful purposes, by

definition, do not fall within this category and cannot be banned. Bruen, 142 S. Ct. at

2143.

          To determine whether a firearm is “unusual” the Supreme Court has likewise

made clear that the Second Amendment focuses on the practices of the American people

nationwide, not just, say, in Oregon. See id. at 2131 (“It is this balance—struck by the

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traditions of the American people—that demands our unqualified deference.” (emphasis

added)); Heller, 554 U.S. at 628 (handguns are “overwhelmingly chosen by American

society” for self-defense (emphasis added)); Caetano, 577 U.S. at 420 (Alito, J.,

concurring) (“stun guns are widely owned and accepted as a legitimate means of self-

defense across the country” (emphasis added)). Therefore, the Amendment protects those

who live in states or localities with a less robust practice of protecting the right to keep

and bear firearms from outlier legislation (like Oregon’s ban here) just as much as it

protects those who live in jurisdictions that have hewed more closely to America’s

traditions. In this way, the Amendment is similar to other constitutional guarantees that

serve to hold state and local governments to minimum standards that are applicable

nationwide, for “constitutional adjudication frequently involves the justices’ seizing upon

a dominant national consensus and imposing it on resisting local outliers.” Michael J.

Klarman, Rethinking the Civil Rights and Civil Liberties Revolutions, 82 VA. L. REV. 1,

16 (1996). More pithily, the Supreme Court “obliterates outliers.” Frank H. Easterbrook,

Abstraction and Authority, 59 U. CHI. L. REV. 349, 370 (1992).

       Furthermore, courts and legislatures do not have the authority to second-guess the

choices made by law-abiding citizens by questioning whether they really “need” the

magazines that ordinary citizens have chosen to possess. While Heller noted several

“reasons that a citizen may prefer a handgun for home defense,” the Court held that

“[w]hatever the reason, handguns are the most popular weapon chosen by Americans for

self-defense in the home, and a complete prohibition of their use is invalid.” 554 U.S. at

629 (emphasis added). And in Bruen the Court reaffirmed that “the traditions of the

American people”—which includes their choice of preferred firearms—“demand[ ] [the

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courts’] unqualified deference.” 142 S. Ct. at 2131. Thus, unless the government can

show that a certain type of magazine is “not typically possessed by law-abiding citizens

for lawful purposes,” Heller, 554 U.S. at 625, that is the end of the matter. Firearms

owned by law-abiding citizens for lawful purposes are “Arms” and cannot be banned.

       Finally, the Second Amendment inquiry focuses on the choices commonly made

by contemporary law-abiding citizens. Heller rejected as “bordering on the frivolous”

“the argument . . . that only those arms in existence in the 18th century are protected,” id.

at 582. And in Caetano, the Supreme Court reiterated this point, holding that “Arms”

protected by the Second Amendment need not have been “in existence at the time of the

Founding.” 577 U.S. 411–12 (quoting Heller, 554 U.S. at 582). The Caetano Court flatly

denied that the banned item is “a thoroughly modern invention” is relevant to

determining whether the Second Amendment protects it. Id. And Bruen cements the

point. Responding to laws that allegedly restricted the carrying of handguns during the

colonial period, the Court reasoned that “even if these colonial laws prohibited the

carrying of handguns because they were considered ‘dangerous and unusual weapons’ in

the 1690s, they provide no justification for laws restricting the public carry of weapons

that are unquestionably in common use today.” Bruen, 142 S. Ct. at 2143.

   2. Standard capacity magazines holding more than 10 rounds of ammunition
      are in common use.

       This case thus reduces to a single straightforward question: are the magazines

banned by Oregon in “common use” according to the lawful choices of contemporary

Americans? They unquestionably are.

       According to the 2021 National Firearms Survey, 48% of gun owners have owned

magazines that hold more than 10 rounds. William English, 2021 National Firearms
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Survey: Updated Analysis Including Types of Firearms Owned at 22 (May 13, 2022),

available at https://bit.ly/3yPfoHw. Given the survey’s estimate that 81.4 million

Americans own firearms, approximately 39 million Americans have owned at least one

magazine that holds more than 10 rounds. And that is a conservative estimate since only

current gun owners were polled. Those individuals frequently owned more than one such

magazine. In fact, Professor English found that American gun owners have owned as

many as 269 million handgun magazines that hold over 10 rounds and an additional 273

million rifle magazines over that threshold for a total of 542 million such magazines. Id.

at 24. And there is nothing surprising about this result—many of the most popular

handguns in the country are manufactured with magazines holding more than 10 rounds.

See, e.g., GUN DIGEST 2018 386-88 (Jerry Lee and Chris Berens, ed. 2017) (Glocks); id.

at 374 (Beretta); id. at 408 (Smith & Wesson); id. at 408 (Sig Sauer); MASSAD AYOOB,

THE COMPLETE BOOK OF HANDGUNS 87, 90 (2013) (noting that Glock pistols, which are

“hugely popular for . . . home and personal defense,” typically come equipped with

magazines with a capacity over ten rounds). The same is true of many of the most

popular semi-automatic rifles. See, e.g., David B. Kopel, The History of Firearm

Magazines and Magazine Prohibitions, 78 ALB. L. REV. 849, 859 (2015) (“The most

popular rifle in American history is the AR-15 platform, a semiautomatic rifle with

standard magazines of twenty or thirty rounds.”). Data from the Firearm Industry Trade

Association indicates that over three quarters of modern sporting rifle magazines in the

country have a capacity of more than 10 rounds, and 52% have a capacity of 30 rounds.

See NSSF, Modern Sporting Rifle Comprehensive Consumer Report, available at

https://bit.ly/3GLmErS.

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       These magazines are commonly possessed for lawful purposes. According to the

National Firearms Survey, the most common reasons cited for owning these magazines

are target shooting (64.3% of owners), home defense (62.4%), hunting (47%), and

defense outside the home (41.7%). English, supra, at 23. And such magazines may be

lawfully owned in the vast majority of states; only eight other states have laws as strict as

Oregon’s that limit magazine capacity to ten rounds for all firearms.            See Lillian

Mongeau Hughes, Oregon Voters Approve Permit-to-Purchase for Guns and Ban High-

Capacity           Magazines,            NPR            (Nov.           15,           2022),

https://www.npr.org/2022/11/15/1133915672/oregon-midterm-results-gun-control-ballot-

measure.

       These statistics conclusively demonstrate that these magazines are commonly

owned and used overwhelmingly by law-abiding Americans for lawful purposes.

“[C]ourts throughout the country [including in this Circuit,] agree that large-capacity

magazines are commonly used for lawful purposes.” Duncan, 19 F.4th at 1155–56

(Bumatay, J., dissenting); see also Fyock, 779 F.3d at 998 (“[W]e cannot say that the

district court abused its discretion by inferring from the evidence of record that, at a

minimum, [large-capacity] magazines are in common use.”); Ass’n of N.J. Rifle & Pistol

Clubs v. Att’y Gen. N. J., 910 F.3d 106, 116–17 (3d Cir. 2018) (“The record shows that

millions of magazines are owned, often come factory standard with semi-automatic

weapons, are typically possessed by law-abiding citizens for hunting, pest-control, and

occasionally self-defense, and there is no longstanding history of [large capacity

magazine] regulation.”); New York State Rifle & Pistol Ass’n, Inc. v. Cuomo, 804 F.3d

242, 255 (2d Cir. 2015) (“Even accepting the most conservative estimates cited by the

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parties and by amici, the . . . large-capacity magazines at issue are ‘in common use’ as

that term was used in Heller.”); Heller v. District of Columbia (“Heller II”), 670 F.3d

1244, 1261 (D.C. Cir. 2011) (“As for magazines, fully 18 percent of all firearms owned

by civilians in 1994 were equipped with magazines holding more than ten rounds, and

approximately 4.7 million more such magazines were imported into the United States

between 1995 and 2000. There may well be some capacity above which magazines are

not in common use but, if so . . . that capacity is surely not ten.”). As a result, under

Bruen and Heller, Oregon’s magazine ban is certainly unconstitutional and Plaintiffs

have demonstrated they are likely to succeed on the merits of their claim.

   II. THE REMAINING INJUNCTION FACTORS ALL FAVOR PLAINTIFFS.

       “It is well established that the deprivation of constitutional rights ‘unquestionably

constitutes irreparable injury.’ ” Melendres v. Arpaio, 695 F.3d 990, 1002 (9th Cir. 20-

12). This is no less true in the context of a Second Amendment challenge. “The

constitutional right to bear arms in public for self-defense is not ‘a second class right,

subject to an entirely different body of rules than other Bill of Rights guarantees.’ ”

Bruen, 142 S. Ct. at 2156 (quoting McDonald, 561 U.S. at 780 (plurality op.)). As such,

for the same reasons that Plaintiffs have demonstrated the Oregon magazine ban infringes

their Second Amendment rights, they have established irreparable harm.

       The existence of an ongoing constitutional violation also disposes of the “balance

of the equities” and “public interest” factors this Court considers in granting a

preliminary injunction. “[I]t is always in the public interest to prevent the violation of a

party’s constitutional rights.” Melendres, 695 F.3d at 1002 (quoting Sammartano v. First

Judicial Dist. Ct., 303 F.3d 959, 974 (9th Cir. 2002)). And Oregon will not be harmed in

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any way by an injunction that merely keeps in place the status quo which has always

prevailed in Oregon until now—that citizens may own magazines capable of holding

more than 10 rounds of ammunition and use them for lawful purposes.

                                     Conclusion

       For these reasons, the Court should enter a temporary restraining order and

preliminary injunction in Plaintiffs’ favor against enforcement of the unconstitutional

Oregon magazine ban.

       Dated: November 30, 2022.           Respectfully submitted,
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